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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 1:18-cv-24190

  WILLIAM O. FULLER, and
  MARTIN PINILLA, II,

                 Plaintiffs,

         v.

  JOE CAROLLO,

                 Defendant.

  ___________________________________/

  PLAINTIFFS’ RESPONSE TO DEFENDANT’S TRIAL MEMORANDUM REGARDING
     HEARSAY STATEMENTS AND REQUEST FOR CURATIVE INSTRUCTION

         This Court should deny Defendant Joe Carollo’s (“Defendant”) trial memorandum seeking

  a curative instruction for three independent reasons: (1) the objections have been overruled or

  waived, (2) the Court properly admitted the testimony, and (3) if granted, the requested instruction

  would only confuse the jury.

         First, the Court has already ruled on Defendant’s hearsay objections, and if they were not

  raised contemporaneously, they have been waived by Defendant. Plaintiffs agree that this Court

  has properly excluded improper hearsay testimony based on these contemporaneous objections.

  For instance, the Court repeatedly sustained Defendant’s objections when other witnesses testified

  to actual hearsay statements about general knowledge. To take just one example, the Court

  sustained Defendant’s objection when Ms. Rosa Romero stated that “[e]veryone knew that he was

  responsible for all of the raids” in response to being asked how she “kn[e]w defendant Carollo was

  responsible for this [raid] in particular?” April 24, 2023 Trial Tr. at 72. Further, when Bill Fuller

  testified, the Court sustained a hearsay objection to “everyone knows”: “Q. Okay. And why didn't
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  you support Alfie Leon in a public way? . . . [Mr. Martin Pinilla] I knew it. Everyone knew it. We

  all knew it. That's what ABC was founded on. MR. KUEHNE: Objection, Your Honor, to again

  everyone knowing something. We don't even know who these people are. THE COURT:

  Sustained.” May 9, 2023 Trial Tr. at 169.

           Furthermore, in instances when Defendant failed to lob a hearsay objection during the

  actual testimony, such objection has been waived. See, e.g., April 24, 2023 Trial Tr. at 133-34;

  see also, e.g., United States v. Cook, 959 F.2d 245 (10th Cir. 1992) (“When the defense fails to

  object contemporaneously to admission of hearsay, the objection is waived”); In re Decker Oaks

  Dev. II, Ltd., 415 B.R. 239, 261–62 (S.D. Tex. 2009) (“Because Royce Homes did not

  contemporaneously raise a hearsay objection, however, the objection is considered waived, and

  Weedn's hearsay testimony ‘“may be considered ... for such probative value as it may have”’”

  (quoting Peaches Entm't Corp. v. Entm't Repertoire Assocs., Inc., 62 F.3d 690, 694 (5th Cir.

  1995))). Try as he may, Defendant cannot resurrect his waived objections at this eleventh hour of

  this trial.

           Second, even if the Court were to continue its analysis, “common knowledge” testimony

  is not automatically inadmissible hearsay. 1 To take the sole example of testimony cited by

  Defendant, Chief of Police Acevedo’s testimony was not offered to prove that Defendant was



  1
    Out-of-court statement about the “common knowledge” of other groups or individuals is not
  inadmissible hearsay if it is not being offered for the truth of the matter asserted. See, e.g.,
  Naumovski v. Binghamton Univ., State Univ. of New York, No. 3:11-CV-1097, 2019 WL 5445346,
  at *1 (N.D.N.Y. Oct. 24, 2019) (“[T]estimony . . . regarding rumors . . . may be admissible for
  purposes other than to prove the truth of the matter asserted” where the party “does not seek to
  prove the truth of the rumors, only that the rumors existed.”); United States v. Nacrelli, 468 F.
  Supp. 241, 252–53 (E.D. Pa. 1979), aff'd, 614 F.2d 771 (3d Cir. 1980) (“The testimony as to what
  other officers had told them is likewise not within the definition of hearsay, since the declarations
  of the other officers were admitted, not for the truth of the matter asserted, but to show the effect
  on the officers who testified”).

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  targeting Plaintiffs or that such targeting was, in fact, widely known in Miami. Rather, Chief

  Acevedo cited the “wide open knowledge” that Defendant was targeting Plaintiffs to explain why,

  in his own state of mind, he believed it was obvious that Defendant was “adding properties to this

  list to make it look like Mr. Fuller wasn’t being targeted.” April 18, 2023 Trial Tr. at 102-103.

  Defendant’s own authority buttresses this point. See Alexander v. United States, No. 21-13720,

  2022 WL 17688692, at *5 n.3 (11th Cir. Dec. 15, 2022) (noting that “the district court permitted

  ‘evidence that anybody that worked for the Bureau of Prisons ever heard the rumors’ only for the

  claims against the government”). 2

         Third – and again assuming that the Court continues its analysis – the requested curative

  instruction would be confusing and is hopelessly vague, as it would require the jury to retroactively

  parse 17 days of testimony in Plaintiffs’ case-in-chief in order to recall which unidentified

  testimony Defendant contends refers to “common knowledge.” This would be an exercise in

  futility and is completely inappropriate. Given that Defendant has cited only a single example of

  testimony that he (incorrectly) deems hearsay, the broad confusing instruction would lead the jury

  to disregard properly admitted evidence – the true gambit Defendant belatedly seeks.




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    Further on this score, Defendant’s case law is entirely distinguishable because it concerns
  “common knowledge” testimony offered to establish a concrete fact that was not directly observed
  by any single individual. Plaintiffs did not offer Chief Acevedo’s testimony for the truth of the
  matter asserted. See, e.g., Daly v. Far E. Shipping Co. PLC., 238 F. Supp. 2d 1231, 1234 (W.D.
  Wash. 2003), aff'd sub nom. Daly v. Fesco Agencies NA Inc., 108 F. App'x 476 (9th Cir. 2004)
  (excluding “common knowledge” of whether a laser pointer was on board a ship in the absence of
  any percipient witness who observed a laser pointer); Alexander, No. 21-13720, 2022 WL
  17688692, at *5 (affirming the exclusion of hearsay evidence brought in to prove whether a prison
  doctor took sexual liberties with female inmates); Evans v. McClain of Georgia, Inc., 131 F.3d
  957, 962 (11th Cir. 1997) (finding that the district court properly excluded hearsay offered to prove
  whether an employer engaged in disparate treatment based on the race of his employees).

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                                           CONCLUSION

         For the foregoing reasons, Plaintiffs Bill Fuller and Martin Pinilla respectfully request that

  the Court deny the relief sought in Defendant Joe Carollo’s Trial Memorandum.


         Dated: May 16, 2023

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                                      CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the forgoing was served via

  CM/ECF on counsel of record of in this action on this 16th day of May 2023.



                                                        By: /s/ Courtney Caprio

                                                        Courtney Caprio, Esq.




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